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                IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA
IN RE:                             )
  Ricky Lynn Taliaferro and        )     Case No. 18-11230 JDL
  Sara Beth Brown-Taliaferro,      )           Chapter 13
          Debtors.                 )

   MOTION FOR RELIEF FROM AUTOMATIC STAY UNDER 11 U.S.C.§ 362,
  FOR WAIVER OF 14 DAY STAY UNDER FED. R. BANKR. P. 4001(A)(3),
   AND REQUEST TO ABANDON PROPERTY FROM THE BANKRUPTCY ESTATE,
        AND NOTICE OF MOTION AND OPPORTUNITY FOR HEARING,
                  COMBINED WITH BRIEF IN SUPPORT

     COMES NOW, City National Bank (herein after referred to as
BANK) and hereby asks this court to grant it relief from the
automatic    stay   and   abandonment    of   certain     bankruptcy    estate
property, and waive the fourteen (14) day period-all pursuant to 11
U.S.C. §362(d) and §554(b), and Fed. R. Bankr. P. 4001(a)(3).              In
support thereof BANK respectfully represents and shows to the Court
as follows:
     1.     That BANK is the holder of a duly perfected security
interest in the following described real property as shown by copy
of the Note and the recorded Mortgage which has been recorded with
the Comanche County Clerk on February 4, 2011, and recorded in Book
006355, Pages 152-166, and the Modification of Mortgage that was
recorded on July 19, 2011, and recorded in Book 006465, on pages
180-182.    All of which are attached hereto covering the following
described real estate and collateral:
     Beginning 991.4 feet West of the Southeast corner of the
Southeast Quarter (SE/4) of Section Four (4), Township One (1)
North, Range Eleven (11) West, I.M., Comanche County, Oklahoma,
according to the U.S. Government Survey thereof; thence North 393.6
feet; thence East 221.4 feet; thence South 393.6 feet; thence West
221.2 feet, to the point of beginning.
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       FURTHER,   That BANK is the holder of a duly perfected security

interest in the following described vehicles and machinery as shown

by copies of the UCC1 form that has been filed with the appropriate

state agencies and attached hereto:

     all equipment, inventory and accounts, including but not
limited to the following: 16' Easley Stock Trailer, 16' Flatbed
Utility Trailer, 14' Job Trailer w/Diesel Welder and hand tools,
12' Lawn Mower Trailer with Ramp, 1 ea. Registered Breeding stock
Mare, 1 ea. Kids gentle Shetland Pony, 1969 Howard Council Saddle,
Hustler Super Z with Honda Motor 60" cut, and Saddles and Tack.
       2.    As to the real property the BANK is owed the sum of One
Hundred     Forty-Eight    Thousand      Four    Hundred    Thirty    Dollars      and
seventy cents ($148,430.70), plus interest at 12.00 percent per
annum, until paid in full. FURTHER the BANK is owed the equipment,
inventory and accounts and the collateral the sum of Thirty-Nine
Thousand Five Hundred Fifty-Seven Dollars and sixty-four cents
($39,557.64) and at this time are in arrears in the sum of Four
Thousand Fifty Dollars ($4,050.00).                   That the Debtors are in
default by reason of failure of said Debtors to pay the said
monthly installments due upon said collateral and as such BANK
would request the automatic stay be lifted so that it could obtain
possession of its collateral and foreclose its security interest.
For the foregoing reason, there is sufficient cause to modify the
automatic stay under 11 U.S.C. §362(d)(1).
       3.    BANK would state that since the Debtors have failed to
make   their    payments      on   all   of     the   collateral     it    would   be
appropriate for the Court to enter an Order Lifting the Automatic
Stay provided by 11 U.S.C., Section 362(d) and further that the
property be abandoned pursuant to 11 U.S.C., Section 554.
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      4.    Although no formal appraisal of said collateral have been
made, the Petitioner alleges that there is no equity in said
collateral for the estate of the Debtors, and that the outstanding
balance due upon said collateral is in excess of the value of said
collateral.       Furthermore, that said collateral is a burdensome
asset of the estate and should be abandoned.
      5.      Under Fed. R. Bankr. P. 4001(a)(3), an order granting
stay relief on this Motion would be stayed “until the expiration of
14 days after the entry of the order, unless the court orders
otherwise.”          Good   cause    exists   to   “order    otherwise”     as    the
collateral has been surrendered to this creditor and this creditor
needs to be able to dispose of its collateral as it is continuing
to depreciate without compensation to BANK.                 Petitioner is asking
the   Court     to    waive    the   statutory     period    pursuant      to    FRBP
4001(a)(3).
      6.     Petitioner further alleges that said collateral above
mentioned is currently not being used or will not be needed for the
purpose of carrying on the business of the Debtor or to effectuate
a Plan which may be purposed in this proceeding.
      7.     That BANK has been stayed from enforcing its rights under
said security agreement since the filing of this case on March 29,
2018.      That said collateral is continuing to depreciate without
compensation to BANK and by reason thereof, BANK is entitled to
adequate protection which can only be provided by an Order Lifting
the Automatic Stay imposed upon BANK and thereby permitting it to
obtain possession of its collateral for the purpose of foreclosure
of its security interests.


                      NOTICE OF OPPORTUNITY FOR HEARING
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     8.    Your rights may be affected.                You should read this

document and consult your attorney about your rights and the effect

of this document.     If you do not want the Court to grant the

requested relief, or you wish to have your views considered, you

must file a written response or objection to the requested relief

with the Clerk of the United States Bankruptcy Court for the

Western District of Oklahoma, 215 Dean A. McGee Avenue, Oklahoma

City, Oklahoma 73102, no later than 14 days from the date of filing

of this request for relief.     You should also serve a file-stamped

copy of your response or response or objection to the undersigned

movant/movant’s attorney and the Chapter 7 Trustee [and any others

who are required to be served] and file a certificate of service

with the Court.   If no response or objection is timely filed, the

Court may grant the requested relief without a hearing or further

notice.   The 14 day period includes the three (3) days allowed for

mailing provided for in Fed. R. Bankr. P. 9006(f).

     WHEREFORE, Petitioner, BANK prays the Court enter an Order

lifting the Automatic Stay imposed by the filing of this proceeding

to permit Petitioner to take possession of said collateral and

foreclose its security interest therein as provided by law, and

that BANK may have such other and further relief to which it may be

entitled, and such order being made immediately effective pursuant

to Fed. R. Bankr. P. 4001(a)(3).
                                  s/Hyman Z. Copeland
                                 Hyman Z. Copeland,   OBA #1902
                                 HYMAN Z. COPELAND, INC.
                                 525 SW C Avenue
                                 Lawton, Oklahoma 73501
                                 Lawton - 580-355-8800
                                 Walters - 580-875-2121
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                                 FAX (405)354-2834
                                 Email: copelandlawfirm@aol.com
                                 Attorney for City National Bank

                        CERTIFICATE OF SERVICE

     I, Roger D. Everett certify that on the 1st day of August,
2019, a true and correct copy of the above and foregoing Motion was
electronically filed with the Bankruptcy Court of the Western
District of Oklahoma and as such the Bankruptcy Court Clerk caused
the same to be electronically sent to all parties requesting notice
via the CM/ECF electronic noticing system including but not limited
to the following parties:

John C. Cramer on behalf of Debtor Ricky Lynn Taliaferro
clf@cramer.cc

John C. Cramer on behalf of Joint Debtor Sara Beth Brown-Taliaferro
clf@cramer.cc

John T. Hardeman
13trustee@chp13okc.com, trustee@chp13okc.com

U.S. Trustee
Ustpregion20.oc.ecf@usdoj.gov

and via the U.S. Postal Service, postage prepaid, to all parties
listed below and on the attached matrix (less those parties
receiving notice through the Court’s CM/ECF noticing system):

Ricky Lynn Taliaferro            Sara Beth Brown-Taliaferro
2502 SE Bishop Road              2502 SE Bishop Road
Lawton, OK 73501                 Lawton, OK 73501
                                        s/Hyman Z. Copeland
                                        HYMAN Z. COPELAND
